Case 2:24-cv-04744-RGK-AJR    Document 43       Filed 08/26/24   Page 1 of 4 Page ID
                                   #:1623


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13
14                     UNITED STATES DISTRICT COURT

15                    CENTRAL DISTRICT OF CALIFORNIA

16
     FIONA HARVEY,
17                                                    Case No. 2:24-cv-04744-RGK-AJR
                             Plaintiff,
18                                                    PLAINTIFF’S NOTICE OF
          v.
19                                                    MOTION TO STRIKE THE
     NETFLIX, INC. and NETFLIX                        DECLARATIONS OF LAURA
20                                                    WRAY, LOUISE OAKLEY,
     WORLDWIDE ENTERTAINMENT, LLC,
21                                                    AND RICHARD GADD
                             Defendants.
22                                                    Date: September 23, 2024
23                                                    Time: 9:00 a.m.
                                                      Place: Courtroom 850
24
25                                                    Hon. R. Gary Klausner

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     PLAINTIFF’S MOTION TO STRIKE DECLARATIONS OF LOUISE OAKLEY, LAURA
            WRAY, AND RICHARD GADD ISO NETFLIX MOTION TO STRIKE
                          Case No. 2:24-cv-04744-RGK-AJR
Case 2:24-cv-04744-RGK-AJR       Document 43        Filed 08/26/24   Page 2 of 4 Page ID
                                      #:1624


 1 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2         PLEASE TAKE NOTICE that, on September 23, 2024 at 9:00 a.m., or as
 3 soon thereafter as the matter may be heard by the Honorable R. Gary Klausner, in the
 4 United States District Court for the Central District of California located at 255 East
 5 Temple Street, Los Angeles, CA 90012, Courtroom 850, plaintiff Fiona Harvey
 6 (“Harvey”) by and through her undersigned counsel, will and hereby do, move the
 7 Court to strike the Declaration of Louise Michelle Oakley (ECF 26-3), to strike the
 8 Declaration of Laura Wray (ECF 26-27 to ECF 26-43, ECF 34) in its entirety,
 9 including exhibits thereto, and to strike paragraphs 24-65 of the Declaration of
10 Richard Gadd and Exhibits 1-60 thereto (ECF 23-1 to 23-60; ECF 27 to 27-60; ECF
11 35-58) except the last sentence of Paragraph 41 and Exhibit 44, that were
12 submitted by defendants Netflix Worldwide Entertainment, LLC and Netflix, Inc.,
13 (collectively, “Netflix”) in support of their motion to strike the Complaint pursuant to
14 California’s anti-SLAPP statute Cal. Code Civ. Pro § 425.16.
15         This motion is made pursuant to the Court’s inherent authority on the grounds
16 that the declarations and exhibits thereto are immaterial, impertinent, and scandalous.
17 Carrigan v. California State Legislature, 263 F.2d 560, 564 (9th Cir. 1959); Ready
18 Transp., Inc. v. AAR Mfg., Inc., 627 F.3d 402, 404 (9th Cir. 2010) (“[i]t is well
19 established that district courts have inherent power to control their docket . . .
20 includ[ing] the power to strike items from the docket as a sanction for litigation
21 conduct.”). In addition, this motion is made pursuant to Daubert v. Merrell Dow
22 Pharmaceuticals, Inc., 509 U.S. 579, 113 S.Ct. 2786 (1993), which empowers the
23 district court to reject speculative expert testimony.
24         Specifically, Laura Wray’s declaration is immaterial, impertinent and
25 scandalous in that it seeks to introduce testimony and documents concerning Wray’s
26 experience with plaintiff in the late 1990s – none of which form any part of
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     PLAINTIFF’S MOTION TO STRIKE DECLARATIONS OF LOUISE OAKLEY, LAURA
            WRAY, AND RICHARD GADD ISO NETFLIX MOTION TO STRIKE
                          Case No. 2:24-cv-04744-RGK-AJR
Case 2:24-cv-04744-RGK-AJR      Document 43        Filed 08/26/24   Page 3 of 4 Page ID
                                     #:1625


 1 Plaintiff’s Complaint. Wray’s declaration and exhibits have no connection to this
 2 action and only serve to publicly humiliate and harass Plaintiff.
 3        The expert witness declaration of Louise Michelle Oakley is likewise
 4 immaterial, impertinent and scandalous in that Oakley’s expert opinion is that
 5 Plaintiff should have been or could have been convicted of crimes as a result of
 6 Plaintiff’s conduct towards Richard Gadd. However, this opinion is not only
 7 conjecture, but also immaterial because it is undisputed that Plaintiff was never
 8 convicted of a crime. Complt., Exh. 1. Netflix’s false statements that Harvey was
 9 convicted twice is the core of this defamation lawsuit. In addition, Oakley’s
10 declaration should be struck because Netflix did not provide notice of an issue of
11 foreign law required by Fed. R. Civ. P. 44.1 and because Oakley improperly applies
12 foreign law to the facts of this case.
13        Finally, paragraphs 24-65, and exhibits 1-60, of the declaration of Richard
14 Gadd, except the last sentence of Paragraph 41 and Exhibit 44 are immaterial,
15 impertinent and scandalous as they seek to introduce evidence of immaterial emails
16 purportedly from Harvey that are sexually explicit and that are neither referenced in
17 the Complaint or in Baby Reindeer. Netflix concedes that Gadd’s exhibits 3-41 “are
18 awash with violent hate speech and sexually explicit, deeply disturbing vitriol that is
19 nowhere depicted in the Series.” ECF 26-1, Netflix Br. at 14. These exhibits only
20 serve to publicly humiliate Plaintiff. The remainder of Gadd’s exhibits include
21 purported voicemails and emails from Plaintiff concerning problems with an estate
22 lawyer, Plaintiff’s sister, and politicians – none which is depicted in the Series or
23 included in Plaintiff’s complaint. The last sentence of Paragraph 41 and Exhibit 44
24 are relevant to Harvey’s claim that Netflix falsely stated Harvey waited outside
25 Gadd’s home for 16 hours per day as this material confirms that Harvey did not
26 know where Gadd lived.
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     PLAINTIFF’S MOTION TO STRIKE DECLARATIONS OF LOUISE OAKLEY, LAURA
            WRAY, AND RICHARD GADD ISO NETFLIX MOTION TO STRIKE
                          Case No. 2:24-cv-04744-RGK-AJR
Case 2:24-cv-04744-RGK-AJR     Document 43        Filed 08/26/24   Page 4 of 4 Page ID
                                    #:1626


 1        This motion is based on this Notice, the accompanying Memorandum of
 2 Points and Authorities, the Complaint on file in this action (ECF 1), and such oral
 3 argument as may be presented on this motion.
 4        This motion is made following the conference of counsel pursuant to Local
 5 Rule 7-3, which took place on August 15, 2024. Counsel for the parties were unable
 6 to reach a resolution that would have made this motion unnecessary.
 7 Dated: August 26, 2024
 8
 9                                        Respectfully submitted,
10                                        THE ROTH LAW FIRM, PLLC
11                                                 Brian Levenson
12                                        By: /s/ Brian Levenson
13                                        Brian Levenson
                                          Attorneys for Plaintiff Fiona Harvey
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     PLAINTIFF’S MOTION TO STRIKE DECLARATIONS OF LOUISE OAKLEY, LAURA
            WRAY, AND RICHARD GADD ISO NETFLIX MOTION TO STRIKE
                          Case No. 2:24-cv-04744-RGK-AJR
